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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                  10/19/2020
                                                                       :
MICHAEL LARDO, on behalf of himself and all others :
similarly situated,                                                    :
                                                                       :
                                    Plaintiff,                         :     20-CV-5047 (JPC)
                                                                       :
                  -v-                                                  :       NOTICE OF
                                                                       :     REASSIGNMENT
BUILDING SERVICE 32BJ PENSION FUND et al.,                             :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned. All counsel must familiarize themselves

with the Court’s Individual Rules, which are available at https://www.nysd.uscourts.gov/hon-

john-p-cronan. Pursuant to the Honorable Judge Alison J. Nathan’s Order dated September 15,

2020 (Dkt. 57), discovery in this matter is stayed pending the outcome of Defendants’ forthcoming

motion. The Court will set the briefing schedule in a separate order.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
